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                             FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         COBBLER NEVADA, LLC,                              No. 17-35041
                       Plaintiff-Appellant,
                                                             D.C. No.
                             v.                           3:15-cv-00866-
                                                                SB
         THOMAS GONZALES,
                     Defendant-Appellee.                     OPINION



                Appeal from the United States District Court
                         for the District of Oregon
                Michael H. Simon, District Judge, Presiding

                     Argued and Submitted May 18, 2018
                              Portland, Oregon

                             Filed August 27, 2018

           Before: M. Margaret McKeown and Richard A. Paez,
           Circuit Judges, and Robert S. Lasnik, * District Judge.

                          Opinion by Judge McKeown




            *
              The Honorable Robert S. Lasnik, United States District Judge for
        the Western District of Washington, sitting by designation.
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                           EXHIBIT 1
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                                  SUMMARY **


                                    Copyright

            The panel affirmed the district court’s dismissal of an
        action under the Copyright Act, alleging direct and
        contributory infringement of plaintiff’s copyrights in a film.

            Plaintiff alleged unauthorized downloading and
        distribution of the film through peer-to-peer BitTorrent
        networks. The panel held that the bare allegation that the
        defendant was the registered subscriber of an Internet
        Protocol address associated with infringing activity was
        insufficient to state a claim for direct or contributory
        infringement. The panel also held that the district court did
        not abuse its discretion in awarding attorney’s fees to the
        defendant under 17 U.S.C. § 505.


                                    COUNSEL

        John Mansfield (argued), Harris Bricken, Portland, Oregon;
        Carl D. Crowell, Crowell Law, Salem, Oregon; for Plaintiff-
        Appellant.

        David Hamlin Madden (argued), Mersenne Law, Tigard,
        Oregon, for Defendant-Appellee.




            **
               This summary constitutes no part of the opinion of the court. It
        has been prepared by court staff for the convenience of the reader.
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                                  OPINION

        McKEOWN, Circuit Judge:

            In this copyright action, we consider whether a bare
        allegation that a defendant is the registered subscriber of an
        Internet Protocol (“IP”) address associated with infringing
        activity is sufficient to state a claim for direct or contributory
        infringement. We conclude that it is not.

            After tracing infringement of its copyrights to a
        particular IP address, Cobbler Nevada, LLC filed suit against
        the John Doe IP address for direct and contributory
        copyright infringement. Cobbler Nevada soon discovered
        that the IP address was registered to Thomas Gonzales, who
        operated an adult foster care home. Cobbler Nevada then
        amended its complaint to name Gonzales as the sole
        defendant, alleging that he directly infringed by copying and
        distributing copyrighted works himself or, in the alternative,
        contributed to another’s infringement by failing to secure his
        internet connection.

            The district court properly dismissed Cobbler Nevada’s
        claims. The direct infringement claim fails because
        Gonzales’s status as the registered subscriber of an
        infringing IP address, standing alone, does not create a
        reasonable inference that he is also the infringer. Because
        multiple devices and individuals may be able to connect via
        an IP address, simply identifying the IP subscriber solves
        only part of the puzzle. A plaintiff must allege something
        more to create a reasonable inference that a subscriber is also
        an infringer. Nor can Cobbler Nevada succeed on a
        contributory infringement theory because, without
        allegations of intentional encouragement or inducement of
        infringement, an individual’s failure to take affirmative steps
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        to police his internet connection is insufficient to state a
        claim.

                              BACKGROUND

            Cobbler Nevada holds copyrights in the film The
        Cobbler, a magic realism film that features “[a] cobbler,
        bored of his everyday life, [who] stumbles upon a magical
        heirloom that allows him to become other people . . . .” The
        Cobbler, IMDB, https://www.imdb.com/title/tt3203616/
        (last visited July 26, 2018). Like a number of major motion
        pictures scheduled for theatrical release, The Cobbler has
        been the subject of unauthorized downloading and
        distribution (i.e., pirating) through BitTorrent networks. See
        generally Glacier Films (USA), Inc. v. Turchin, 896 F.3d
        1033, 1035–36 (9th Cir. 2018) (providing background on
        piracy via peer-to-peer BitTorrent networks). According to
        Cobbler Nevada, there have been over 10,000 instances of
        infringing activity of The Cobbler traced to Oregon alone.

            Cobbler Nevada identified an IP address located in
        Portland, Oregon, that had downloaded and distributed The
        Cobbler multiple times without authorization. Cobbler
        Nevada filed suit against the unknown holder of the IP
        address—named in the complaint as Doe-24.21.136.125—
        for direct and contributory copyright infringement. Records
        subpoenaed from Comcast identified Thomas Gonzales as
        the subscriber of the internet service associated with the IP
        address.

             After several attempts to reach Gonzales, Cobbler
        Nevada’s counsel finally connected with Gonzales via
        telephone. Once counsel learned that the internet service
        was accessible to both residents and visitors at an adult care
        home, he concluded that “it does not appear that [Gonzales]
        is a regular occupant of the residence or the likely infringer.”
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        Due to confidentiality concerns, Gonzales refused to share
        the names or work schedules of the individuals living and
        working in the home without a court order. Although the
        district court granted leave to depose Gonzales, the
        deposition revealed no new information regarding the
        identity of the actual infringer. 1

            Nevertheless, Cobbler Nevada filed a First Amended
        Complaint and named Gonzales as the sole defendant.
        Cobbler Nevada alleged that Gonzales “copied and
        distributed” The Cobbler or, in the alternative, “facilitated
        and promoted the use of the internet for the infringing of
        [Cobbler Nevada’s] exclusive rights under the Copyright
        Act” by failing to “reasonably secure, police and protect” the
        use of his internet service. Cobbler Nevada also claimed that
        Gonzales “ha[d] been sent over 400 notices of infringing
        activity,” yet “failed and refused to take any action
        whatsoever and either continued to infringe by using
        BitTorrent to download and distribute copyrighted content
        or continued to allow infringing activity after such notices.”

            The only facts in support of Cobbler Nevada’s direct
        infringement claim were that Gonzales was “the subscriber
        of the IP address used to download or distribute the movie,
        and that he was sent notices of infringing activity to which
        he did not respond.” Relying on the magistrate judge’s
        reasoning that these allegations were “not enough” to state a
        claim because there were no facts connecting Gonzales to



            1
                During his deposition, Gonzales testified that, once he became
        aware of the infringing activity, he attempted to find out who the
        infringer was and instructed everyone to stop infringing. He also
        testified that the staff took the same steps, but no one was able to identify
        the infringer.
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        the infringing activity, the district court dismissed the direct
        infringement claim without prejudice.

            The district court also dismissed the contributory
        infringement claim, which rested on the theory that Gonzales
        failed to stop infringement by others after being notified of
        such infringement. The court wrote that liability arises by
        “actively encouraging . . . infringement through specific
        acts,” and not by mere failure to take affirmative steps to
        prevent infringement. Cobbler Nevada’s failure to allege
        that Gonzales “promoted, encouraged, enticed, persuaded,
        or induced another to infringe any copyright, let alone
        [Cobbler Nevada’s] copyright,” sunk the claim.

             The district court gave Cobbler Nevada three weeks to
        file an amended complaint. Instead of amending its claims
        against Gonzales, Cobbler Nevada filed a Second Amended
        Complaint in which, once again, it named the Doe IP address
        as the sole defendant. No new factual allegations were
        added. The magistrate judge ordered Cobbler Nevada to
        show cause why the Second Amended Complaint should not
        be dismissed for failure to cure the deficiencies identified in
        the court’s dismissal of the First Amended Complaint, or for
        failure to identify the unknown party in a timely manner
        pursuant to Federal Rule of Civil Procedure 4(m). Less than
        a week later, Cobbler Nevada filed a notice of voluntary
        dismissal.

           Gonzales then filed a motion requesting entry of
        judgment dismissing the case and for attorney’s fees for the
        contributory infringement claim. The district court granted
        the motion and awarded Gonzales attorney’s fees of
        $17,222.40 and costs of $252.20.
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                                ANALYSIS

        I. The District Court Properly Dismissed Cobbler
           Nevada’s Direct Infringement Claim Without
           Prejudice

            Although copyright owners can often trace infringement
        of copyrighted material to an IP address, it is not always easy
        to pinpoint the particular individual or device engaged in the
        infringement. Internet providers, such as Comcast or
        AT&T, can go so far as to identify the individual who is
        registered to a particular IP address (i.e., an account holder)
        and the physical address associated with the account, but that
        connection does not mean that the internet subscriber is also
        the infringer. The reasons are obvious—simply establishing
        an account does not mean the subscriber is even accessing
        the internet, and multiple devices can access the internet
        under the same IP address. Identifying an infringer becomes
        even more difficult in instances like this one, where
        numerous people live in and visit a facility that uses the same
        internet service. While we recognize this obstacle to naming
        the correct defendant, this complication does not change the
        plaintiff’s burden to plead factual allegations that create a
        reasonable inference that the defendant is the infringer.

            The only connection between Gonzales and the
        infringement was that he was the registered internet
        subscriber and that he was sent infringement notices. To
        establish a claim of copyright infringement, Cobbler Nevada
        “must show that [it] owns the copyright and that the
        defendant himself violated one or more of the plaintiff’s
        exclusive rights under the Copyright Act.” Ellison v.
        Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004). Cobbler
        Nevada has not done so.
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            This is a situation “[w]here a complaint pleads facts that
        are merely consistent with a defendant’s liability, . . .
        stop[ping] short of the line between possibility and
        plausibility of entitlement to relief.” Ashcroft v. Iqbal,
        556 U.S. 662, 678 (2009) (internal quotation marks
        omitted). The allegations are not “enough to raise a right to
        relief above a speculative level.” Bell Atl. Corp. v. Twombly,
        550 U.S. 544, 555 (2007). This result should come as no
        surprise to Cobbler Nevada, which acknowledged that its
        independent investigation did not permit identification of “a
        specific party that is likely to be the infringer.”

            Nor did the district court err in entering judgment in
        favor of Gonzales after Cobbler Nevada voluntarily
        dismissed its Second Amended Complaint. Once the claims
        against Gonzales were dismissed, Cobbler Nevada failed to
        cure the deficiencies and instead amended its complaint to
        name the Doe IP address as the sole defendant. This put
        things right back where they started, naming an IP address
        without identifying an actual infringer. Recognizing that the
        claims against Gonzales were not resolved, the district court
        entered judgment reflecting its earlier dismissal of Cobbler
        Nevada’s direct infringement claim without prejudice and
        the contributory infringement claim with prejudice. Cobbler
        Nevada argues that the district court should have granted it
        further leave to amend before entering judgment, which had
        the effect of foreclosing any further amendment. See Weeks
        v. Bayer, 246 F.3d 1231, 1236–37 (9th Cir. 2001). In light
        of Cobbler Nevada’s prior amendments to the complaint and
        the futility of any further amendment, however, the district
        court acted within its discretion in not granting further leave
        to amend. See Salameh v. Tarsadia Hotel, 726 F.3d 1124,
        1133 (9th Cir. 2013); Lipton v. Pathogenesis Corp., 284 F.3d
        1027, 1039 (9th Cir. 2002).
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        II. The District Court Properly Dismissed Cobbler
            Nevada’s Contributory Infringement Claim With
            Prejudice

            We have adopted the well-settled rule that “[o]ne
        infringes contributorily by intentionally inducing or
        encouraging direct infringement.” Perfect 10, Inc. v.
        Amazon.com, Inc., 508 F.3d 1146, 1170 (9th Cir. 2007)
        (alteration in original) (quoting Metro-Goldwyn-Mayer
        Studios, Inc. v. Grokster, Ltd., 545 U.S. 914, 930 (2005)).
        Stated differently, “liability exists if the defendant engages
        in personal conduct that encourages or assists the
        infringement.” A&M Records, Inc. v. Napster, Inc.,
        239 F.3d 1004, 1019 (9th Cir. 2001) (internal quotation
        marks omitted). A claim for contributory infringement
        requires allegations that the defendant is “one who, with
        knowledge of the infringing activity, induces, causes or
        materially contributes to the infringing conduct of another.”
        Fonovisa v. Cherry Auction, Inc., 76 F.3d 259, 264 (9th Cir.
        1996) (brackets omitted) (quoting Gershwin Publishing
        Corp. v. Columbia Artists Management, 443 F.2d 1159,
        1162 (2d Cir. 1971)). Cobbler Nevada’s contributory
        infringement claim is premised on a bare allegation that
        Gonzales failed to police his internet service. This
        perfunctory allegation, without more, does not sufficiently
        link Gonzales to the alleged infringement.

            At the outset, we recognize that Gonzales’s position—a
        subscriber to internet service—does not fit cleanly within
        our typical contributory liability framework, which often
        involves consumer-facing internet platforms. See, e.g.,
        Grokster, 545 U.S. at 919–20 (computer software provider);
        Amazon, 508 F.3d at 1171 (search engine). Nevertheless, it
        is no leap to apply the framework of similar technology-
        based cases to our analysis of Gonzales’s liability.
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             In Sony Corp. of America v. Universal City Studios, Inc.,
        the Supreme Court held that liability for another’s
        infringement cannot arise from the mere distribution of a
        product that is “widely used for legitimate, [non-infringing]
        purposes.” 464 U.S. 417, 442 (1984). The Court later
        refined the standard for liability, holding that “one who
        distributes a device with the object of promoting its use to
        infringe copyright, as shown by clear expression or other
        affirmative steps taken to foster infringement, is liable for
        the resulting acts of infringement by third parties.”
        Grokster, 545 U.S. at 919. In essence, the limitation of
        liability in Sony—premised on a refusal to impute intent to a
        defendant based solely on knowledge that a product might
        be used for infringement—does not apply “where evidence
        . . . shows statements or actions directed to promoting
        infringement.” Id. at 935. The Court was clear, however,
        that “in the absence of other evidence of intent, a court would
        be unable to find contributory infringement liability merely
        based on a failure to take affirmative steps to prevent
        infringement, if the device otherwise was capable of
        substantial noninfringing uses.” Id. at 939 n.12; see also id.
        at 937 (“[M]ere knowledge of infringing potential or of
        actual infringing uses would not be enough here to subject a
        distributor to liability.”).

            Although circuit courts approach contributory liability
        through varying lenses, our circuit has identified two strands
        of liability following Sony and Grokster: “actively
        encouraging (or inducing) infringement through specific
        acts” or “distributing a product distributees use to infringe
        copyrights, if the product is not capable of ‘substantial’ or
        ‘commercially significant’ noninfringing uses.” Amazon,
        508 F.3d at 1170 (quoting Grokster, 545 U.S. at 942
        (Ginsburg, J., concurring)). We analyze contributory
        liability “in light of ‘rules of fault-based liability derived
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        from the common law,’ and common law principles
        establish that intent may be imputed.” Id. at 1170–71
        (quoting Grokster, 545 U.S. 934–35).

              Turning to the first strand, Cobbler Nevada’s complaint
        lacks any allegations that Gonzales “actively encourage[ed]
        (or induc[ed]) infringement through specific acts.” Id. at
        1170. Nothing in Cobbler Nevada’s complaint alleges, or
        even suggests, that Gonzales actively induced or materially
        contributed to the infringement through “purposeful,
        culpable expression and conduct.” Grokster, 545 U.S. at
        937. No allegations suggest that Gonzales made any “clear
        expression” or took “affirmative steps” to foster the
        infringement—Gonzales’s only action was his failure to
        “secure, police and protect” the connection. Id. at 919; see
        also 3 Nimmer on Copyright § 12.04 (“Inducement liability
        . . . rests [] on the defendant’s ‘active steps to encourage
        infringement’ leading to actual infringement taking place.”)
        (quoting Grokster, 545 U.S. at 936). Because a “failure to
        take affirmative steps to prevent infringement” alone cannot
        trigger liability, Grokster, 545 U.S. at 939 n.12, Cobbler
        Nevada failed to “state a claim to relief that is plausible on
        its face,” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.
        at 570).

            Nor does the second strand implicate Gonzales.
        Providing internet access can hardly be said to be
        distributing a product or service that is not “capable of
        substantial” or “commercially significant noninfringing
        uses.” Sony, 464 U.S. at 442.

            We note that Cobbler Nevada’s theory both strays from
        precedent and effectively creates an affirmative duty for
        private internet subscribers to actively monitor their internet
        service for infringement. Imposing such a duty would put at
        risk any purchaser of internet service who shares access with
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        a family member or roommate, or who is not technologically
        savvy enough to secure the connection to block access by a
        frugal neighbor. This situation hardly seems to be one of
        “the circumstances in which it is just to hold one individual
        accountable for the actions of another.” Id. at 435.

        III. The District Court Did Not Abuse its Discretion By
             Awarding Attorney’s Fees

             The Copyright Act states that the district court “may . . .
        award a reasonable attorney’s fee to the prevailing party as
        part of the costs . . . .” 17 U.S.C. § 505. Gonzales is the
        “prevailing party” because Cobbler Nevada’s contributory
        infringement claim was dismissed with prejudice. See
        Cadkin v. Loose, 569 F.3d 1142, 1150 (9th Cir. 2009) (“[A]
        defendant is a prevailing party following dismissal of a claim
        if the plaintiff is judicially precluded from refiling the claim
        against the defendant in federal court.”). 2 In awarding fees
        to Gonzales, the district court acted within its discretion. See
        Entm’t Research 10 Grp. v. Genesis Creative Grp., 122 F.3d
        1211, 1216–17, 1228–29 (9th Cir. 1997).

            The court “enjoys ‘wide latitude to award attorney’s fees
        based on the totality of circumstances in a case,’” though “its
        discretion must remain tethered to judicial guideposts.”
        Glacier Films, 2018 WL 3542839, at *3 (quoting Kirtsaeng
        v. John Wiley & Sons, Inc., 136 S.Ct. 1979, 1985 (2016)).
        To guide the district court’s discretion, the Supreme Court
        and our court have provided a “nonexclusive” list of factors
        for courts to consider in making a fee determination. Id.; see
        also Fogerty v. Fantasy, Inc., 510 U.S. 517, 534 n.19 (1994);



             2
                 Gonzales sought fees only for the contributory infringement claim.
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        Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 675 (9th
        Cir. 2017).

            The district court properly applied the Supreme Court’s
        “Fogerty factors” to the particulars of this case. To begin,
        the court focused on the objective unreasonableness of the
        losing party’s litigating position, a factor that carries
        “substantial weight.” Kirtsaeng, 136 S. Ct. at 1983; Shame
        On You Prods., Inc. v. Banks, 893 F.3d 661, 666 (9th Cir.
        2018). Specifically, the court flagged as unreasonable
        Cobbler Nevada’s decision to name Gonzales as the
        defendant, even after concluding that Gonzales was not “a
        regular occupant of the residence or a likely infringer.” The
        court also considered deterrence: it reasoned that awarding
        fees would deter Cobbler Nevada from an “overaggressive
        pursuit of alleged infringers without a reasonable factual
        basis” while encouraging defendants with valid defenses to
        defend their rights. See Fogerty, 510 U.S. at 534 n.19. The
        court’s rationale is in keeping with the purposes of the
        Copyright Act. See Kirtsaeng, 136 S. Ct. at 1988–89 (a
        district court “may order fee-shifting . . . to deter . . .
        overaggressive assertions of copyright claims”).

            On the whole, the district court “consider[ed] the facts of
        [this] case, weigh[ed] the appropriate factors, and ma[de] a
        fee determination based on the conduct of both parties.”
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        Glacier Films, 2018 WL 3542839, at *9. 3 We thus uphold
        the fee determination. 4

             AFFIRMED.




             3
              In Glacier Films, we reversed and remanded a fees ruling because
        the district court had based its decision “on a one-size-fits-all disapproval
        of other BitTorrent suits,” not on the facts of the case at hand. 2018 WL
        3542839, at *1, *9. By contrast, the district court trained its focus here
        on the unreasonable conduct of Cobbler Nevada in this particular case.
             4
               To the extent Cobbler Nevada claims that the district court had no
        jurisdiction to award attorney’s fees after the voluntary dismissal, we
        reject that argument for the simple reason that Gonzales was not a party
        to the voluntary dismissal. Wilson v. City of San Jose, 111 F.3d 688, 692
        (9th Cir. 1997) (“The filing of a notice of voluntary dismissal with the
        court automatically terminates the action as to the defendants who are
        the subjects of the notice.” (emphasis added)). At the time of the
        voluntary dismissal, the only defendant named in the Second Amended
        Complaint was the Doe IP address, not Gonzales.
